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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE




FRANKLIN SALCEDO,                             )
                                              )
              Plaintiff,                      )
                                              )
                    v.                        )
                                              )   Civil Action 2:17-cv-00018-JAW
MICHAEL VITIELLO; MARIE GERRY;                )
YVONNE PEABBLES; CORRECT CARE                 )
SOLUTIONS, LLC; and YORK                      )
COUNTY, MAINE.                                )
                                              )
              Defendants.                     )
                                              )
                                              )
                                              )
                                              )

                           STIPULATION OF DISMISSAL


      Plaintiff Franklin Salcedo and Defendants Michael Vitiello and York County

hereby stipulate to the dismissal of all claims against Michael Vitiello and York

County in this matter, with prejudice and without costs to any party.



Dated: March 8, 2017                          /s/ Zachary L. Heiden
                                              Zachary L. Heiden, Esq.
                                              Counsel for Plaintiff Franklin Salcedo

Dated: March 8, 2017                          /s/ Peter T. Marchesi
                                              Peter T. Marchesi, Esq.
                                              Counsel for Defendants Michael Vitiello
                                              and York County




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                           CERTIFICATE OF SERVICE

      The undersigned certifies that he has electronically filed this date the

foregoing Stipulation of Dismissal with the Clerk of the Court using the CM/ECF

system, which will send notifications of such filing to the following counsel of record:



Peter T. Marchesi, Esq.                  Robert C. Hatch, Esq.
Wheeler & Arey, P.A.                     Thompson Bowie & Hatch LLC
27 Temple Street, P.O. Box 376           415 Congress Street
Waterville, ME 04903-0376                P.O. Box 4630
                                         Portland, ME 04112


Counsel for defendants MICHAEL           Counsel for defendants CORRECT
VITIELLO; and YORK COUNTY.               CARE SOLUTIONS, LLC; MARIE
                                         GERRY; and YVONNE PEABBLES.



      Dated: March 8, 2017               /s/ Zachary L. Heiden
                                         Zachary L. Heiden
                                         Counsel for Plaintiff Franklin
                                         Salcedo




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